        Case: 3:23-cv-00008-GFVT Doc #: 16-1 Filed: 02/22/23 Page: 1 of 26 - Page ID#: 408


AO 440 (Rev. 06/12) Summons in a Civil Action


                                     United States District Court
                                                             for the
                                                  Eastern District of Kentucky   1^1


   Kentucky Chamber of Commerce, Chamber of                     '
    Commerce of The United States of America,                   )
  Associated General Contractors of Kentucky, Inc.,            )
    Home Builders Association of Kentucky, et al.              )
                            Plaintiffs)                         )
                                v.                                                       )       Civil Action No.3:23-cv-00008-GFVT

  United States Environmental Protection Agency, et             )
                        al.                                     )
                                                                )
                                                                )
                          Defendant(s)                          )


                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) United States Environmental Protection Agency
                                   Office of the Administrator, Mail Code 1101A
                                   1200 Pennsylvania Ave., NW
                                   Washington, D.C. 20460




         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Charles E. English, Jr.                                 Elbert Lin, Matthew Leopold,
                                 Sarah Payne-Jarboe                                 Kerry McGrath, Erica Peterson
                                 LaJuana S. Wilcher                                  Hunton Andrews Kurth LLP
                                 English Lucas Priest & Owsley, LLP                 2200 Pennsylvania Avenue, NW
                                 1101 College Street, P.O. Box 770                  Washington, D.C. 20037
                                 Bowling Green, KY 42101

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                         CLERK OF COURT


Date: ______________________                                            _________________
                                                                                       Signature of Clerk or Deputy Clerk
         Case: 3:23-cv-00008-GFVT Doc #: 16-1 Filed: 02/22/23 Page: 2 of 26 - Page ID#: 409


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 3:23-cv-00008-GFVT

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of individual and title, ifany)
 was received by me on (date)


           □ I personally served the summons on the individual at (place)
                                                                                 on (date)                             ; or

           □ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           □ I served the summons on (name of individual)                                                                       , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                             ; or

           CJ I returned the summons unexecuted because                                                                              ; or

           CJ Other (specify):




           My fees are $                           for travel and $                   for services, for a total of $          o.OO


           I declare under penalty of perjury that this information is true.



 Date: _________________
                                                                                             Server's signature



                                                                                         Printed name and title




                                                                                             Server’s address


 Additional information regarding attempted service, etc:
        Case: 3:23-cv-00008-GFVT Doc #: 16-1 Filed: 02/22/23 Page: 3 of 26 - Page ID#: 410


AO 440 (Rev. 06/12) Summons in a Civil Action


                                     United States District Court
                                                             for the
                                                  Eastern District of Kentucky   Fl


   Kentucky Chamber of Commerce, Chamber of                     '
    Commerce of The United States of America,                   )
  Associated General Contractors of Kentucky, Inc.,            )
    Home Builders Association of Kentucky, et al.              )
                            Plaintiffs)
                                v.                              )                              Civil Action No.3:23-cv-00008-GFVT

  United States Environmental Protection Agency, et             )
                        al.                                     )
                                                                )
                                                                )
                           Defendant(s)                         )


                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) United States Environmental Protection Agency
                                   by registered or certified mail to the
                                   Attorney General of the United States
                                   950 Pennsylvania Avenue, NW
                                   Washington, D.C. 20530-0001



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Charles E. English, Jr.                                 Elbert Lin, Matthew Leopold,
                                 Sarah Payne-Jarboe                                 Kerry McGrath, Erica Peterson
                                 LaJuana S. Wilcher                                  Hunton Andrews Kurth LLP
                                 English Lucas Priest & Owsley, LLP                 2200 Pennsylvania Avenue, NW
                                 1101 College Street, P.O. Box 770                  Washington, D.C. 20037
                                 Bowling Green, KY 42101

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT


Date: ______________________                                             _________________
                                                                                      Signature of Clerk or Deputy Clerk
         Case: 3:23-cv-00008-GFVT Doc #: 16-1 Filed: 02/22/23 Page: 4 of 26 - Page ID#: 411


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 3:23-cv-00008-GFVT

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of individual and title, ifany)
 was received by me on (date)


           □ I personally served the summons on the individual at (place)
                                                                                 on (date)                             ; or

           □ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           □ I served the summons on (name of individual)                                                                       , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                             ; or

           □ I returned the summons unexecuted because                                                                               ; or

           O Other (specify):




           My fees are $                           for travel and $                   for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.



 Date: _________________
                                                                                             Server's signature



                                                                                         Printed name and title




                                                                                             Server’s address


 Additional information regarding attempted service, etc:
        Case: 3:23-cv-00008-GFVT Doc #: 16-1 Filed: 02/22/23 Page: 5 of 26 - Page ID#: 412


AO 440 (Rev. 06/12) Summons in a Civil Action


                                     United States District Court
                                                             for the
                                                  Eastern District of Kentucky   Q


   Kentucky Chamber of Commerce, Chamber of                     '
    Commerce of The United States of America,                   )
  Associated General Contractors of Kentucky, Inc.,             )
    Home Builders Association of Kentucky, et al.               )
                            Plaintiffs)                         )

                                v.                                                     )      Civil Action No.3:23-cv-00008-GFVT

  United States Environmental Protection Agency, et             )
                        al.                                     )
                                                                )
_____________ _________________________ _____                   )
                           Defendant(s)                         )


                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) United States Environmental Protection Agency
                                   by registered or certified mail to the civil-process clerk at the
                                   Office of the United States Attorney for the Eastern District of Kentucky
                                   260 W. Vine Street, Suite 300
                                   Lexington, KY 40507



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Charles E. English, Jr.                                 Elbert Lin, Matthew Leopold,
                                 Sarah Payne-Jarboe                                 Kerry McGrath, Erica Peterson
                                 LaJuana S. Wilcher                                  Hunton Andrews Kurth LLP
                                 English Lucas Priest & Owsley, LLP                 2200 Pennsylvania Avenue, NW
                                 1101 College Street, P.O. Box 770                  Washington, D.C. 20037
                                 Bowling Green, KY 42101

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT


Date: ______________________                                             _________________
                                                                                     Signature of Clerk or Deputy Clerk
         Case: 3:23-cv-00008-GFVT Doc #: 16-1 Filed: 02/22/23 Page: 6 of 26 - Page ID#: 413


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 3:23-cv-00008-GFVT

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of individual and title, ifany)
 was received by me on (date)


           CJ I personally served the summons on the individual at (place)
                                                                                 on (date)                             ; or

           □ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           □ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                             ; or

           □ I returned the summons unexecuted because                                                                               ; or

           O Other (specify):




           My fees are $                           for travel and $                   for services, for a total of $          o.OO


           I declare under penalty of perjury that this information is true.



 Date: _________________
                                                                                             Server’s signature



                                                                                         Printed name and title




                                                                                             Server’s address


 Additional information regarding attempted service, etc:
        Case: 3:23-cv-00008-GFVT Doc #: 16-1 Filed: 02/22/23 Page: 7 of 26 - Page ID#: 414


AO 440 (Rev. 06/12) Summons in a Civil Action


                                     United States District Court
                                                              for the
                                                  Eastern District of Kentucky   2


   Kentucky Chamber of Commerce, Chamber of                      '
    Commerce of The United States of America,                    )
  Associated General Contractors of Kentucky, Inc.,             )
   Home Builders Association of Kentucky, et. al.               )
                            Plaintiffs)                         )
                                v.                                                     )       Civil Action No.3:23-cv-00008-GFVT

 United States Environmental Protection Agency, et.             )
                        al.                                     )
                                                                )
                                                                )
                          Defendant(s)                          )


                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Michael S. Regan, in his official capacity as Administrator of
                                   The United States Environmental Protection Agency
                                   Office of the Administrator, Mail Code 1101A
                                   1200 Pennsylvania Ave., NW
                                   Washington, D.C. 20460



         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Charles E. English, Jr.                                  Elbert Lin, Matthew Leopold
                                 LaJuana S. Wilcher                                  Erica Peterson
                                 Sarah Payne-Jarboe                                 Kerry McGrath
                                 English Lucas Priest & Owsley, LLP                  Hunton Andrews Kurth LLP
                                 1101 College Street, P.O. Box 770                  2200 Pennsylvania Avenue, NW
                                 Bowling Green, KY 42101                             Washington, DC 20037

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                         CLERK OF COURT


Date: ______________________                                            _________________
                                                                                     Signature of Clerk or Deputy Clerk
         Case: 3:23-cv-00008-GFVT Doc #: 16-1 Filed: 02/22/23 Page: 8 of 26 - Page ID#: 415


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 3:23-cv-00008-GFVT

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of individual and title, if any)
 VJ3S received by me on (date)


           □ I personally served the summons on the individual at (place)
                                                                                 on (date)                             ; or

           □ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           □ I served the summons on (name of individual)                                                                       , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                             ; or

           □ I returned the summons unexecuted because                                                                               ; or

           O Other (specify):




           My fees are $                           for travel and $                   for services, for a total of $          q.00



           I declare under penalty of perjury that this information is true.



 Date: _________________
                                                                                             Server's signature



                                                                                         Printed name and title




                                                                                             Server's address


 Additional information regarding attempted service, etc:
        Case: 3:23-cv-00008-GFVT Doc #: 16-1 Filed: 02/22/23 Page: 9 of 26 - Page ID#: 416


AO 440 (Rev. 06/12) Summons in a Civil Action


                                     United States District Court
                                                             for the
                                                  Eastern District of Kentucky   F^l


   Kentucky Chamber of Commerce, Chamber of                      '
    Commerce of The United States of America,                  )
  Associated General Contractors of Kentucky, Inc.,             )
    Home Builders Association of Kentucky, et al.               )
                           Plaintiffs)                          )

                                V’                              )      Civil Action No. 3:23-cv-00008-GFVT

  United States Environmental Protection Agency, et             )
                        al.                                     )
                                                                )
                                                                )
                          Defendant(s)                          )


                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Michael Regan, in his official capacity as Administrator of
                                   The United States Environmental Protection Agency
                                   by registered or certified mail to the
                                   Attorney General of the United States
                                   950 Pennsylvania Avenue, NW
                                   Washington, D.C. 20530-0001


         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Charles E. English, Jr.                                  Elbert Lin, Matthew Leopold,
                                 Sarah Payne-Jarboe                                 Kerry McGrath, Erica Peterson
                                 LaJuana S. Wilcher                                  Hunton Andrews Kurth LLP
                                 English Lucas Priest & Owsley, LLP                  2200 Pennsylvania Avenue, NW
                                 1101 College Street, P.O. Box 770                  Washington, D.C. 20037
                                 Bowling Green, KY 42101

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                         CLERK OF COURT


Date: ______________________                                             _________________
                                                                                       Signature of Clerk or Deputy Clerk
        Case: 3:23-cv-00008-GFVT Doc #: 16-1 Filed: 02/22/23 Page: 10 of 26 - Page ID#: 417


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 3:23-cv-00008-GFVT

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of individual and title, if any)
 was received by me on (date)


           □ I personally served the summons on the individual at (place)
                                                                                 on (date)                             ; or

           □ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           □ I served the summons on (name of individual)                                                                       , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                             ; or

           □ I returned the summons unexecuted because                                                                               ; or

           □ Other (specify):




           My fees are $                           for travel and $                   for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.



 Date: _________________
                                                                                             Server's signature



                                                                                         Printed name and title




                                                                                             Server’s address


 Additional information regarding attempted service, etc:
       Case: 3:23-cv-00008-GFVT Doc #: 16-1 Filed: 02/22/23 Page: 11 of 26 - Page ID#: 418


AO 440 (Rev. 06/12) Summons in a Civil Action


                                     United States District Court
                                                             for the
                                                  Eastern District of Kentucky   £


   Kentucky Chamber of Commerce, Chamber of                     '
    Commerce of The United States of America,                   )
  Associated General Contractors of Kentucky, Inc.,             )
    Home Builders Association of Kentucky, et al.               )
                            Plaintiffs)
                                v.                              )                             Civil Action No.3:23-cv-00008-GFVT

  United States Environmental Protection Agency, et             )
                        al.                                     )
                                                                )
                                                                )
                           Defendant(s)                         )


                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Michael S. Regan, in his official capacity as Administrator of
                                   The United States Environmental Protection Agency
                                   by registered or certified mail to the civil-process clerk at the
                                   Office of the United States Attorney for the Eastern District of Kentucky
                                   260 W. Vine Street, Suite 300
                                   Lexington, KY 40507


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Charles E. English, Jr.                                 Elbert Lin, Matthew Leopold,
                                 Sarah Payne-Jarboe                                 Kerry McGrath, Erica Peterson
                                 LaJuana S. Wilcher                                  Hunton Andrews Kurth LLP
                                 English Lucas Priest & Owsley, LLP                  2200 Pennsylvania Avenue, NW
                                 1101 College Street, P.O. Box 770                  Washington, D.C. 20037
                                 Bowling Green, KY 42101

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT


Date: ______________________                                             _________________
                                                                                     Signature of Clerk or Deputy Clerk
        Case: 3:23-cv-00008-GFVT Doc #: 16-1 Filed: 02/22/23 Page: 12 of 26 - Page ID#: 419


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 3:23-cv-00008-GFVT

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of individual and title, ifany)
 was received by me on (date)


           □ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           □ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           □ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           □ I returned the summons unexecuted because                                                                              ; or

           □ Other (specify):




           My fees are $                           for travel and $                  for services, for a total of $          o.OO


           I declare under penalty of perjury that this information is true.



 Date: _________________
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server's address


 Additional information regarding attempted service, etc:
       Case: 3:23-cv-00008-GFVT Doc #: 16-1 Filed: 02/22/23 Page: 13 of 26 - Page ID#: 420


AO 440 (Rev. 06/12) Summons in a Civil Action


                                     United States District Court
                                                             for the
                                                  Eastern District of Kentucky   [ ]


   Kentucky Chamber of Commerce, Chamber of                     '
    Commerce of The United States of America,                   )
  Associated General Contractors of Kentucky, Inc.,             )
    Home Builders Association of Kentucky, et al.               )
                            Plaintiffs)
                                v.                                     Civil Action No. 3:23-cv-00008-GFVT

  United States Environmental Protection Agency, et             )
                        al.                                     )
                                                                )
                                                                )
                           Defendant(s)                         )


                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) United States Army Corp of Engineers
                                   Office of Assistant Secretary of the Army (Civil Works)
                                   441 G Street, NW
                                   Washington, D.C. 20314-1000




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Charles E. English, Jr.                                 Elbert Lin, Matthew Leopold,
                                 Sarah Payne-Jarboe                                 Kerry McGrath, Erica Peterson
                                 LaJuana S. Wilcher                                  Hunton Andrews Kurth LLP
                                 English Lucas Priest & Owsley, LLP                  2200 Pennsylvania Avenue, NW
                                 1101 College Street, P.O. Box 770                  Washington, D.C. 20037
                                 Bowling Green, KY 42101

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT


Date: ______________________                                             _________________
                                                                                       Signature of Clerk or Deputy Clerk
        Case: 3:23-cv-00008-GFVT Doc #: 16-1 Filed: 02/22/23 Page: 14 of 26 - Page ID#: 421


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 3:23-cv-00008-GFVT

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of individual and title, ifany)
 was received by me on (date)


           □ I personally served the summons on the individual at (place)
                                                                                 on (date)                             ; or

           □ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           □ I served the summons on (name of individual)                                                                       , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                             ; or

           □ I returned the summons unexecuted because                                                                               ; or

           O Other (specify):




           My fees are $                           for travel and $                   for services, for a total of $          o.OO


           I declare under penalty of perjury that this information is true.



 Date: _________________
                                                                                             Server’s signature



                                                                                         Printed name and title




                                                                                             Server's address


 Additional information regarding attempted service, etc:
       Case: 3:23-cv-00008-GFVT Doc #: 16-1 Filed: 02/22/23 Page: 15 of 26 - Page ID#: 422


AO 440 (Rev. 06/12) Summons in a Civil Action


                                     United States District Court
                                                             for the
                                                  Eastern District of Kentucky   3


   Kentucky Chamber of Commerce, Chamber of                     )
    Commerce of The United States of America,                   )
  Associated General Contractors of Kentucky, Inc.,             )
    Home Builders Association of Kentucky, et al.               )
                            Plaintiffs)                         )
                                v.                              )      Civil Action No. 3:23-cv-00008-GFVT

  United States Environmental Protection Agency, et             )
                        al.                                     )
                                                                )
                                                                )
                          Defendant(s)                          )


                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) United States Army Corp of Engineers
                                   Office of Assistant Secretary of the Army (Civil Works)
                                   by registered or certifed mail to the
                                   Attorney General of the United States
                                   950 Pennsylvania Avenue, NW
                                   Washington, D.C. 20530-0001


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Charles E. English, Jr.                                 Elbert Lin, Matthew Leopold,
                                 Sarah Payne-Jarboe                                 Kerry McGrath, Erica Peterson
                                 LaJuana S. Wilcher                                 Hunton Andrews Kurth LLP
                                 English Lucas Priest & Owsley, LLP                 2200 Pennsylvania Avenue, NW
                                 1101 College Street, P.O. Box 770                  Washington, D.C. 20037
                                 Bowling Green, KY 42101

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT


Date: ______________________                                             _________________
                                                                                     Signature of Clerk or Deputy Clerk
        Case: 3:23-cv-00008-GFVT Doc #: 16-1 Filed: 02/22/23 Page: 16 of 26 - Page ID#: 423


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 3:23-cv-00008-GFVT

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of individual and title, if any)
was received by me on (date)


           □ I personally served the summons on the individual at (place)
                                                                                 on (date)                            ; or

           □ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           □ I served the Summons on (name of individual)                                                                      , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                            ; or

           □ I returned the summons unexecuted because                                                                              ; or

           O Other (specify):




          My fees are $                            for travel and $                  for services, for a total of $          o.OO


           I declare under penalty of perjury that this information is true.



Date: _________________
                                                                                             Server's signature



                                                                                         Printed name and title




                                                                                             Server's address

Additional information regarding attempted service, etc:
       Case: 3:23-cv-00008-GFVT Doc #: 16-1 Filed: 02/22/23 Page: 17 of 26 - Page ID#: 424


AO 440 (Rev. 06/12) Summons in a Civil Action


                                     United States District Court
                                                              for the
                                                  Eastern District of Kentucky   Fl


   Kentucky Chamber of Commerce, Chamber of                       '
    Commerce of The United States of America,                     )
  Associated General Contractors of Kentucky, Inc.,               )
    Home Builders Association of Kentucky, et al.             )
                            Plaintiffs)                           )
                                v.                                )     Civil Action No. 3:23-cv-00008-GFVT

  United States Environmental Protection Agency, et               )
                        al.                                       )
                                                                   )
                                                                   )
                          Defendant(s)                            )


                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) United States Army Corp of Engineers
                                   Office of the Assistant Secretary of the Army (Civil Works)
                                   by registered or certified mail to the civil-process clerk at the
                                   Office of the United States Attorney for the Eastern District of Kentucky
                                   260 W. Vine Street, Suite 300
                                   Lexington, KY 40507


         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Charles E. English, Jr.                                 Elbert Lin, Matthew Leopold,
                                 Sarah Payne-Jarboe                                 Kerry McGrath, Erica Peterson
                                 LaJuana S. Wilcher                                  Hunton Andrews Kurth LLP
                                 English Lucas Priest & Owsley, LLP                 2200 Pennsylvania Avenue, NW
                                 1101 College Street, P.O. Box 770                  Washington, D.C. 20037
                                 Bowling Green, KY 42101

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT


Date: ______________________                                              _________________
                                                                                      Signature of Clerk or Deputy Clerk
        Case: 3:23-cv-00008-GFVT Doc #: 16-1 Filed: 02/22/23 Page: 18 of 26 - Page ID#: 425


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 3:23-cv-00008-GFVT

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of individual and title, ifany)
was received by me on (date)


           □ I personally served the summons on the individual at (place)
                                                                                 on (date)                            ; or

           □ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           □ I served the summons on (name of individual)                                                                      , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                            ; or

           O I returned the summons unexecuted because                                                                              ; or

           O Other (specify):




           My fees are $                           for travel and $                  for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.



Date: _________________
                                                                                             Server's signature



                                                                                         Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc:
       Case: 3:23-cv-00008-GFVT Doc #: 16-1 Filed: 02/22/23 Page: 19 of 26 - Page ID#: 426


AO 440 (Rev. 06/12) Summons in a Civil Action


                                     United States District Court
                                                             for the
                                                  Eastern District of Kentucky   F^l


   Kentucky Chamber of Commerce, Chamber of                     '
    Commerce of The United States of America,                   )
  Associated General Contractors of Kentucky, Inc.,             )
   Home Builders Association of Kentucky, et. al.               )
                            Plaintiffs)                         )
                                v.                                                       )      Civil Action No.3:23-cv-00008-GFVT

 United States Environmental Protection Agency, et.             )
                        al.                                     )
                                                                )
                                                                )
                           Defendant(s)                         )


                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Michael L. Connor, in his official capacity as Assistant Secretary of the Army (Civil
                                   Works)
                                   441 G Street, NW
                                   Washington, D.C. 20314-1000




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Charles E. English, Jr.                                  Elbert Lin, Matthew Leopold,
                                 Sarah Payne-Jarboe                                 Kerry McGrath, Erica Peterson
                                 LaJuana S. Wilcher                                  Hunton Andrews Kurth LLP
                                 English Lucas Priest & Owsley, LLP                 2200 Pennsylvania Avenue, NW
                                 1101 College Street, P.O. Box 770                  Washington, D.C. 20037
                                 Bowling Green, KY 42101

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                         CLERK OF COURT


Date: ______________________                                             _________________
                                                                                       Signature of Clerk or Deputy Clerk
        Case: 3:23-cv-00008-GFVT Doc #: 16-1 Filed: 02/22/23 Page: 20 of 26 - Page ID#: 427


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 3:23-cv-00008-GFVT

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of individual and title, if any)
VJ3S received by me on (date)


           □ I personally served the summons on the individual at (place)
                                                                                 on (date)                            ; or

           □ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           □ I served the summons on (name of individual)                                                                      , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                            ; or

           □ I returned the summons unexecuted because                                                                              ; or

           O Other (specify):




           My fees are $                           for travel and $                  for services, for a total of $          o.OO


           I declare under penalty of perjury that this information is true.



Date: _________________
                                                                                             Server’s signature



                                                                                         Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc:
       Case: 3:23-cv-00008-GFVT Doc #: 16-1 Filed: 02/22/23 Page: 21 of 26 - Page ID#: 428


AO 440 (Rev. 06/12) Summons in a Civil Action


                                      United States District Court
                                                              for the
                                                  Eastern District of Kentucky


   Kentucky Chamber of Commerce, Chamber of                     )
    Commerce of The United States of America,                   )
  Associated General Contractors of Kentucky, Inc.,             )
    Home Builders Association of Kentucky, et al.               )
                            Plaintiffts)                        )
                                                                )       Civil Action No. 3:23-cv-00008-GFVT
                                V.

  United States Environmental Protection Agency, et             )
                        al.                                     )
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Michael L. Connor, in his official capacity as Assistant Secretary of the Army (Civil
                                   Works)
                                   Department of the Army
                                   108 Army Pentagon
                                   Washington, D.C. 20310



         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Charles E. English, Jr.                                  Elbert Lin, Matthew Leopold,
                                 Sarah Payne-Jarboe                                 Kerry McGrath, Erica Peterson
                                 LaJuana S. Wilcher                                  Hunton Andrews Kurth LLP
                                 English Lucas Priest & Owsley, LLP                  2200 Pennsylvania Avenue, NW
                                 1101 College Street, P.O. Box 770                  Washington, D.C. 20037
                                 Bowling Green, KY 42101

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT


Date: ______________________                                              _________________
                                                                                    Signature of Clerk or Deputy Clerk
        Case: 3:23-cv-00008-GFVT Doc #: 16-1 Filed: 02/22/23 Page: 22 of 26 - Page ID#: 429


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 3:23-cv-00008-GFVT

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of individual and title, ifany)
was received by me on (date)


           □ I personally served the summons on the individual at (place)
                                                                                 on (date)                            ; or

           □ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           □ I served the summons on (name of individual)                                                                      , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                            ; or

           □ I returned the summons unexecuted because                                                                              ; or

           O Other (specify):




           My fees are $                           for travel and $                  for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.



Date: _________________
                                                                                             Server's signature



                                                                                         Printed name and title




                                                                                             Server’s address


Additional information regarding attempted service, etc:
       Case: 3:23-cv-00008-GFVT Doc #: 16-1 Filed: 02/22/23 Page: 23 of 26 - Page ID#: 430


AO 440 (Rev. 06/12) Summons in a Civil Action


                                     United States District Court
                                                             for the
                                                  Eastern District of Kentucky   Q


   Kentucky Chamber of Commerce, Chamber of                     '
    Commerce of The United States of America,                   )
  Associated General Contractors of Kentucky, Inc.,             )
    Home Builders Association of Kentucky, et al.               )
                           Plaintiff(s)                         )
                                v.                                                     )       Civil Action No.3:23-cv-00008-GFVT

  United States Environmental Protection Agency, et             )
                        al.                                     )
                                                                )
                                                                )
                          Defendant(s)                          )


                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Michael L. Connor, in his official capacity as Assistant Secretary of the Army (Civil
                                   Works) by registered or certified mail to the
                                   Attorney General of the United States
                                   950 Pennsylvania Avenue, NW
                                   Washington, D.C. 20530-0001



         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Charles E. English, Jr.                                  Elbert Lin, Matthew Leopold,
                                 Sarah Payne-Jarboe                                 Kerry McGrath, Erica Peterson
                                 LaJuana S. Wilcher                                  Hunton Andrews Kurth LLP
                                 English Lucas Priest & Owsley, LLP                 2200 Pennsylvania Avenue, NW
                                 1101 College Street, P.O. Box 770                  Washington, D.C. 20037
                                 Bowling Green, KY 42101

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                         CLERK OF COURT


Date: ______________________                                            _________________
                                                                                     Signature of Clerk or Deputy Clerk
        Case: 3:23-cv-00008-GFVT Doc #: 16-1 Filed: 02/22/23 Page: 24 of 26 - Page ID#: 431


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 3:23-cv-00008-GFVT

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of individual and title, ifany)
was received by me on (date)


           □ I personally served the summons on the individual at (place)
                                                                                 on (date)                            ; or

           □ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           □ I served the summons on (name of individual)                                                                       , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                            ; or

           CJ I returned the summons unexecuted because                                                                             ; or

           CJ Other (specify):




           My fees are $                           for travel and $                  for services, for a total of $          q.00



           I declare under penalty of perjury that this information is true.



Date: _________________
                                                                                             Server's signature



                                                                                         Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc:
       Case: 3:23-cv-00008-GFVT Doc #: 16-1 Filed: 02/22/23 Page: 25 of 26 - Page ID#: 432


AO 440 (Rev. 06/12) Summons in a Civil Action


                                     United States District Court
                                                              for the
                                                  Eastern District of Kentucky


   Kentucky Chamber of Commerce, Chamber of                        '
    Commerce of The United States of America,                  )
  Associated General Contractors of Kentucky, Inc.,                )
    Home Builders Association of Kentucky, et al.                  )
                            Plaintiffs)                            )

                                V'                                 )    Civil Action No. 3:23-cv-00008-GFVT

  United States Environmental Protection Agency, et                )
                        al.                                        )
                                                                   )
                                                                   )
                          Defendant(s)                             )


                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Michael L. Connor, in his official capacity as Assistant Secretary of the Army (Civil
                                   Works) by registered or certified mail to the civil-process clerk at the
                                   Office of the United States Attorney for the Eastern District of Kentucky
                                   260 W. Vine Street, Suite 300
                                   Lexington, KY 40507



         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Charles E. English, Jr.                                  Elbert Lin, Matthew Leopold,
                                 Sarah Payne-Jarboe                                 Kerry McGrath, Erica Peterson
                                 LaJuana S. Wilcher                                  Hunton Andrews Kurth LLP
                                 English Lucas Priest & Owsley, LLP                 2200 Pennsylvania Avenue, NW
                                 1101 College Street, P.O. Box 770                  Washington, D.C. 20037
                                 Bowling Green, KY 42101

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT


Date: ______________________                                             _________________
                                                                                    Signature of Clerk or Deputy Clerk
        Case: 3:23-cv-00008-GFVT Doc #: 16-1 Filed: 02/22/23 Page: 26 of 26 - Page ID#: 433


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 3:23-cv-00008-GFVT

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of individual and title, ifany)
 was received by me on (date)


           CJ I personally served the summons on the individual at (place)
                                                                                 on (date)                            ; or

           □ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           CJ I served the summons on (name of individual)                                                                    , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                            ; or

           □ I returned the summons unexecuted because                                                                              ; or

           D Other (specify):




           My fees are $                           for travel and $                  for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.



 Date: _________________
                                                                                             Server's signature



                                                                                         Printed name and title




                                                                                             Server’s address


 Additional information regarding attempted service, etc:
